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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                 NORTHERN DIVISION

 SHAINEY HARPOLE, individually and )
 on behalf of HOLLIE GROTE,        )
 deceased,                         )
                                   ) Cause No.: 2:23-cv-00068-SPM
    Plaintiff,                     )
 v.                                )
                                   )
 Pike County, MO et al.            )
                                   )
    Defendant.                     )

                                        ORDER

       On May 29, 2025, this matter came before the Court for a Telephonic Discovery

Conference at the request of Defendants Pike County, Missouri, Pike County Sheriff’s

Department, Sheriff Stephen Korte, and Corina Halbach (hereinafter collectively referred to as

“the Pike County Defendants”). See ECF No. 64. Defendant Halbach’s deposition is scheduled for

tomorrow, Friday, May 30, 2025, at 10:30 AM and the Pike County Defendants sought the Court’s

input into placing parameters on the use and dissemination of Halbach’s deposition testimony.

Specifically, at Defendant Sheriff Stephen Korte’s recent deposition, Plaintiff’s counsel asked

Defendant Korte a line of questions related to an active criminal investigation previously

conducted by the Pike County Sheriff’s Department and now being conducted by the Missouri

Highway Patrol. In response to certain of these questions, Defendant Korte invoked his Fifth

Amendment right against self-incrimination. Plaintiff’s counsel subsequently released the portions

of the deposition where Defendant Korte invoked his Fifth Amendment right to local media, which

published stories questioning Defendant Korte’s character, reputation, and credibility. Among

other concerns, the Pike County Defendants worried that such dissemination may taint the jury

pool and, without intervention or guidance from the Court, Plaintiff might pursue a similar line of

questions in Defendant Halbach’s deposition and make similar disclosures of her deposition

testimony to the media.
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          For the reasons stated on the record at the time of the Discovery Conference, the Court

   finds that the immediate concerns raised by the Pike County Defendant can be addressed by

   permitting defense counsel to designate all or part of Defendant Halbach’s deposition testimony

   as “Confidential” pursuant to the Protective Order entered in this case on April 11, 2025. ECF No.

   62. If necessary, Plaintiff or any other party may challenge any “Confidential” designation made

   by the Pike County Defendants. Except as ordered by the Court, any such challenges to the

   “Confidential” designation will be addressed pursuant to the terms of the Protective Order.

          Accordingly,

          IT IS HEREBY ORDERED that the parties conduct the deposition of Defendant Corina

   Halbach, as scheduled, on Friday May 30, 2025, in a manner that is consistent with the Federal

   Rules of Civil Procedure and not inconsistent with the discussion held on the record at the

   Discovery Conference and set out in this Order.




                                                SHIRLEY PADMORE MENSAH
                                                UNITED STATES MAGISTRATE JUDGE

Dated: May 29, 2025
